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                            UN ITE D S TA TE S B A N KRUP TC Y C O URT
                             W E S TE RN D IS TRIC T O F M IC H IGA N

In re:                                                          Case No. 16-00290 (JTG)
                                                                (Jointly Administered)
GREAT LAKES COMNET, INC., etal.1                                Chapter 11
          Debtors.                                              Honorable John T. Gregg
PETER KRAVITZ, LIQUIDATION TRUSTEE OF
THE GLC LIQUIDATION TRUST,
          Plaintiff,
                                                                Adversary Proc. No. _________
v.
DELL MARKETING L.P.,
          Defendant.

             C O M P L A IN T TO (I)A V O ID A N D RE C O V E R TRA N S FE RS UN D E R
     11 U.S .C .§ § 547 A N D 550 A N D (II)D IS A L L O W C L A IM UN D E R 11 U.S .C .§ 502(D )

          Peter Kravitz, Liquidation Trustee of the GLC Liquidation Trust (“Trustee”) submits this

C omplaint to (I) A void and Recover Transfers Und er 1 1 U.S.C . § § 547 and 550 and

(II) D isallow C laim Und er 1 1 U.S.C .§ 502
                                            (d ) against Dell Marketing L.P. (“Defendant”),

alleging as follows in support.

                                          IN TRO D UC TIO N

          1.       On January 25, 2016 (“Petition Date”), the Debtors filed voluntary Chapter 11

petitions with this Court commencing their bankruptcy cases.

          2.       On March 4, 2016, Comlink, LLC (“Preference Debtor”) filed its Sched u le of

A ssets and L iabilities forC omlink,L L C (“Schedules,” Doc. No. 215).

          3.       In Section E/F of the Schedules (Creditors Who Have Unsecured Claims), on line

3.35 of page 36 of 231 of the Schedules, the Preference Debtor listed the Defendant has having

an unsecured claim in the amount of $6,275 (“Claim”).

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    The Debtors are Great Lakes Comnet, Inc. (Case No. 16-00290) and Comlink, LLC (Case No. 16-00292).


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         4.        The Claim is not listed as contingent, unliquidated, or disputed on the Schedules.

         5.        On March 30, 2017, the Court confirmed the Debtors’ JointC hapter 1 1 P lan of

L iqu id ation of the D ebtors and O fficialC ommittee of Unsecu red C red itors (“Plan,” Doc. No.

671; also attached to the Confirmation Order, Doc. No. 737, as Exhibit A).

         6.        Subsequently, the Debtors gave notice that the Effective Date under the Plan had

occurred on April 1, 2017. (Doc. No. 742.)

         7.        Under the Plan’s terms, the Trustee was given the right and responsibility to

pursue avoidance actions, as well as the right to settle and release same. Plan, §§ 4.9, 12.7.

                                           JURIS D IC TIO N

         8.        This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A) and (F).

         9.        The Court has jurisdiction under 28 U.S.C. §§ 157(a) and 1334 and W.D. Mich.

LCivR 83.2(a).

         10.       Venue of this proceeding is appropriate under 28 U.S.C. § 1409(a).

                                                 FA C TS

         11.       Prior to filing for bankruptcy protection, the Debtors’ business consisted of,

among other things, operation of a 6,500 mile fiber network serving Michigan and surrounding

states. (“Disclosure Statement,” § 3.1, Doc. No. 670.) They provided telecommunications and

tandem switching services, ultrahigh-speed bandwidth data transmission, and other related

services to their customers. Id .

         12.       Prior to the Petition Date, the Preference Debtor ordered goods and services from

the Defendant.

         13.       Prior to the Petition Date, the Defendant provided goods and services to the

Preference Debtor, including, but not limited to, selling computer and telecommunications

equipment to the Preference Debtor for use in installations for new customers.


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         14.       The Preference Debtor was obligated to pay the Defendant for these goods and

services.

         15.       Prior to the Petition Date, the Defendant sent invoices to the Preference Debtor

for the goods and services it had provided to the Preference Debtor.

         16.       The invoices the Defendant sent to the Preference Debtor requested payment for

the goods and services the Defendant provided to the Preference Debtor.

         17.       In payment on these invoices, on or within the ninety (90) days prior to the

Petition Date, the Preference Debtor transferred funds (“Transfers”) to the Defendant as shown

on Exhibit A.

         18.       The Transfers total $121,957.25.

         19.       The Transfers were made to satisfy obligations the Preference Debtor incurred

when the Defendant provided goods and services to the Preference Debtor.

         20.       The Preference Debtor’s schedules reflect approximately $7.5 million in assets

and just over $25 million in liabilities, showing that the Preference Debtor was insolvent as of

the petition date. (Doc. No. 215, Page 230 of 231, Summary of Assets and Liabilities for Non-

Individuals.)

         21.       Additionally, the Liquidation Analysis attached as Exhibit B to the Disclosure

Statement indicates that liquidation of the Debtors’ assets would not result in full payment of all

claims. Disclosure Statement, Ex. B.

         22.       Had the case converted to Chapter 7, all or most estate assets would have gone to

secured creditors, leaving little or nothing for unsecured creditors. Disclosure Statement, Ex. B.

         23.       As of the Petition Date, the Preference Debtor had insufficient assets to pay

unsecured creditors in full.




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         24.       Under a Chapter 7 proceeding, unsecured creditors would not have received full

payment on their claims.

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         25.       The Transfers were made by or on behalf of the Preference Debtor.

         26.       The funds transferred by the Transfers came from an account or accounts owned

by the Preference Debtor.

         27.       As each Transfer originated from the Preference Debtor’s accounts, it constituted

a transfer of the Preference Debtor’s interest in property to the Defendant.

         28.       Each Transfer was made on account of one or more of the Defendant’s invoices.

         29.       Each invoice represented an obligation of the Preference Debtor to pay for goods

and services provided to the Preference Debtor by the Defendant.

         30.       Each Transfer was made to satisfy an obligation that existed before the Transfer

was made.

         31.       The Transfers thus were made on account of antecedent debts owed to the

Defendant by the Preference Debtor before the Transfers were made.

         32.       The Defendant or its agents received each of the Transfers.

         33.       Each Transfer thus was made to or for the benefit of the Defendant.

         34.       Under 11 U.S.C. § 547(f), the Preference Debtor is presumed to have been

insolvent at the time the Transfers were made.

         35.       The Preference Debtor’s schedules show that its liabilities exceeded its assets as

of the Petition Date.

         36.       The Preference Debtor was, in fact, insolvent at the time the Transfers were made.

         37.       Each Transfer was made on or within 90 days prior to the Petition Date.


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         38.       Each Transfer enabled the Defendant to receive more than it would have if (a) the

Preference Debtor’s bankruptcy case were administered under Chapter 7 of the Bankruptcy

Code, (b) the Transfer had not been made, and (c) the Defendant received payment for the

corresponding claim to the extent provided by the Bankruptcy Code.

         39.       Under 11 U.S.C. § 547(b) and Sections 4.9 and 12.7 of the Plan, the Transfers

constitute preferential transfers which the Trustee may avoid.

         40.       The Preference Debtor made each Transfer directly to the Defendant.

         41.       The Defendant was thus the initial transferee of each of the Transfers.

         42.       Under 11 U.S.C. § 550(a) and Sections 4.9 and 12.7 of the Plan, the Trustee may

recover the Transfers from the Defendant.

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         43.       The allegations set forth in the previous paragraphs are realleged and incorporated

by reference as if fully set forth herein.

         44.       The Defendant has neither returned the Transfers to the Trustee nor paid to the

Trustee the amount of the Transfers for which the Defendant is liable under 11 U.S.C. § 550.

         45.       Under 11 U.S.C. § 502(d), the Claim and any other claims held by the Defendant

(or by any assignee) must be disallowed until and unless the Defendant returns the Transfers to

the Trustee or pays the Trustee the amount of the Transfers.

         46.       Under 11 U.S.C. § 502(j), the Claim and any other claims held by the Defendant

(or by any assignee) that have been previously allowed by the Court must be reconsidered and

disallowed unless and until the Defendants returns the Transfers to the Trustee or pays the

Trustee the amount of the Transfers.




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                                         C O N C L US IO N

         WHEREFORE, the Trustee respectfully requests that the Court enter judgment in favor

of the Trustee and against the Defendant (1) in an amount not less than $121,957.25, plus costs

and interest; and (2) disallowing the Claim and any other claims held by the Defendant or any

assignee until such time as the Defendant returns this amount to the Trustee.



                              Respectfully submitted,

                              MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.

                              By: /s/ Ronald A. Spinner
                                     Marc N. Swanson (P71149)
                                     Ronald A. Spinner (P73198)
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                                     Detroit, MI 48226
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DATED: January 22, 2018




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                             P referentialP aym ents to D ellM arketingL .P .

   Pay m e nt                     Pay m e nt      Pay m e nt                     Invoice     Invoi
                                                                                                 ce
    Ty p e         Pay m e nt #     Date          Am ount         Invoi
                                                                      ce #         Date      Am ount
    Check             9385        10/28/2015      37,967.63      XJRNX77T9      9/10/2015   37,967.63
    Check             9430        11/12/2015      18,583.73      XJRPW3F36      9/14/2015   18,583.73
    Check             9461        11/18/2015      11,810.55      XJRW6K3P4      9/22/2015    1,816.28
                                                                 XJRX2T1C3      9/24/2015    9,994.27
    Check             9485        11/25/2015      53,317.34      XJT1XR3K1      10/1/2015    53,317.34
    Check             9539        12/22/2015         278.00      XJTD1JR55      11/6/2015       278.00
    Total                                        121,957.25                                 121,957.25




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